 Case: 4:05-cr-00230-ERW         Doc. #: 175 Filed: 11/03/05             Page: 1 of 1 PageID #:
                                           372



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
       vs.                                     )                  No. 4:05cr00230 SNL (AGF)
                                               )
DERRICK RIVERS,                                )
                                               )
       Defendant.                              )

                                           ORDER

       Having received no objections by the defendant, Derrick Rivers,

       IT IS HEREBY ORDERED that United States Magistrate Judge Audrey G. Fleissig

Report and Recommendation (# 159), filed October 5, 2005 is SUSTAINED, ADOPTED and

INCORPORATED herein.

       IT IS FURTHER ORDERED that Defendant’s Motion for Severance (#145) be DENIED

without prejudice.



       Dated this 3rd day of November, 2005.




                                             SENIOR UNITED STATES DISTRICT JUDGE
